      Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 1 of 9



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                                                                                    U.S. DISTRICT COURT
                              UNITED STATES DISTRICT COURT                         [1!'S"'RIC! OF ?<I1,NSAS
                                   DISTRICT OF KANSAS
                                                                                   '08 JUL 17 Al1 :03
DISABLED PATRIOTS OF AMERICA, INC.,
a Florida Non Profit Corporation, and                                            CL
GUADALUPE BETANCOURT, Individually,                                             By.~-:-::-:

               Plaintiffs,                             Case No.   /??-- /d/5" - Wb--- B
vs.                                                    Magistrate Judge    D\IV 13
DILLON REAL ESTATE CO., INC., a Kansas
Corporation,

               Defendant.
---------------_/

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiffs, DISABLED PATRIOTS OF AMERICA, INC., a Florida Non Profit Corporation,

and GUADALUPE BETANCOURT, Individually, on their behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as "Plaintiff' or "Plaintiffs"), hereby sue the

Defendant, DILLON REAL ESTATE CO., INC., a Kansas Corporation, (sometimes referred to as

"Defendant"), for Injunctive Relief, and attorney's fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. ("ADA").

1.     Plaintiff, Guadalupe Betancourt, is an individual residing in Arkansas City, KS, in the

       County of Cowley.

2.     Plaintiff, DISABLED PATRIOTS OF AMERICA, INC., is a non profit corporation formed

       under the laws of the State of Florida. DISABLED PATRIOTS OF AMERICA, INC.

       maintains its principal office at 702 North E Street, Lake Worth, FL 33460, in the County

       of Palm Beach.
     Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 2 of 9




3.    Defendant's property, Dillons Shopping Center, is located at 2244 N. Rock Road Ct.,

      Wichita, KS 67220, in the County of Sedgwick.

4.    Venue is properly located in the District ofKansas because venue lies in the judicial district

      of the situs of the property at issue. The Defendant's property is located in and Defendant

      does business within this judicial district.

5.    Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

      jurisdiction over actions which arise from the Defendant's violations of Title III of the

      Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and

      § 2202.

6.    Plaintiff Guadalupe Betancourt is a Kansas resident, is SUI JUrIS, and qualifies as an

      individual with disabilities as defined by the ADA. Guadalupe Betancourt has visited the

      property which forms the basis of this lawsuit and plans to return to the property to avail her

      ofthe goods and services offered to the public at the property. The Plaintiffhas encountered

      architectural barriers at the subject property. The barriers to access at the property have

      endangered her safety.     The Plaintiff is also a member of the Plaintiff organization,

      DISABLED PATRIOTS OF AMERICA, INC., discussed below in paragraph 7.

7.    PlaintiffDISABLED PATRIOTS OF AMERICA, INC., is a nonprofit Florida corporation.

      Members of this organization include individuals with disabilities as defined by the ADA,

      and are representative of a cross-section of the disabilities to be protected from

      discrimination by the ADA. The purpose of this organization is to represent the interest of

      its members by assuring places ofpublic accommodation are accessible to and usable by the

      disabled and that its members are not discriminated against because of their disabilities.

      DISABLED PATRIOTS OF AMERICA, INC. and its members have suffered and will

                                                2
      Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 3 of 9




       continue to suffer direct and indirect injury as a result ofthe Defendant's discrimination until

       the Defendant is compelled to comply with the requirements of the ADA. One or more of

       its members has suffered an injury that would allow it to bring suit in its own right.

       DISABLED PATRIOTS OF AMERICA, INC. has also been discriminated against because

       of its association with its disabled members and their claims.

8.     Defendant owns, leases, leases to, or operates a place of public accommodation as defined

       by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

       Defendant is responsible for complying with the obligations oftheADA. The place ofpublic

       accommodation that the Defendant owns, operates, leases or leases to is known as Dillons

       Shopping Center, and is located at 2244 N. Rock Road Ct., Wichita, KS 67220.

9.     DISABLED PATRIOTS OF AMERICA, INC. and Guadalupe Betancourt have a realistic,

       credible, existing and continuing threat of discrimination from the Defendant's non­

       compliance with the ADA with respect to this property as described but not necessarily

       limited to the allegations in paragraph 11 of this complaint. Plaintiffs have reasonable

       grounds to believe that they will continue to be subjected to discrimination in violation of

       the ADA by the Defendant. Guadalupe Betancourt desires to visit Dillons Shopping Center

       not only to avail her ofthe goods and services available at the property but to assure her that

       this property is in compliance with the ADA so that he and others similarly situated will have

       full and equal enjoyment of the property without fear of discrimination.

10.    The Defendant has discriminated against the individual Plaintiff and members of the

       corporate Plaintifforganization by denying them access to, and full and equal enjoyment of,

       the goods, services, facilities, privileges, advantages and/or accommodations of the

      buildings, as prohibited by 42 U.S.c. § 12182 et seq.

                                                 3
      Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 4 of 9




11.    The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff in

       violation ofthe ADA by failing to have accessible facilities by January 26, 1992 (or January

       26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000 or less).

       A preliminary inspection ofDillons Shopping Center has shown that violations exist. These

       violations include, but are not limited to:


       Parkin2

       A.     Some of the accessible spaces do not provide signs designating the disabled use
              spaces, in violation of Section 4.6.4 of the ADAAG whose resolution is readily
              achievable.

       B.     Where posted, signage at some of the designated accessible parking spaces are not
              mounted at sufficient heights in violation of section 4.6.4 of the ADAAG whose
              resolution is readily achievable.

       C.     The disabled use parking spaces and/or unloading areas are located on a slope or
              cross slope in violation of Section 4.6.3 and 4.6.6 of the ADAAG whose resolution
              is readily achievable.

       Entrance Access and Path of Travel

       A.     There are no accessible routes from the street, sidewalk and parking areas. There are
              violations ofthe requirements in Sections 4.3.2, 4.5.2,4.7.1 and 4.8.2 ofthe ADAAG
              whose resolution is readily achievable.

       B.     There are changes in levels of greater than 12 inch, violating Section 4.3.8 of the
              ADAAG whose resolution is readily achievable.

       C.     There are curb ramps at the facility that project into vehicular areas and/or contain
              excessive slopes, side slopes or cross slopes in violation of Sections 4.7.2, 4.7.5,
              4.7.6, and 4.7.9 of the ADAAG whose resolution is readily achievable.

       D.     There are ramps at the facility that do not have level landings and/or contain
              excessive slopes or cross slopes in violation of Section 4.8.2, 4.8.4 and 4.8.6 of the
              ADAAG whose resolution is readily achievable.

       E.     There are no proper handrails provided for the ramps to the facility, in violation of
              Section 4.8.5 ofthe ADAAG whose resolution is readily achievable.


                                                     4
Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 5 of 9




 F.    The ramps do not provide edge protection as prescribed in Section 4.8.7 of the
       ADAAG whose resolution is readily achievable.

 G.    A level landing is not provided at the accessible entrance and/or there are rises at the
       thresholds of the entrances at the facility are in excess of 1/2 of an inch, violating
       Sections 4.13.6, 4.5.2 and 4.13.8 of the ADAAG whose resolution is readily
       achievable.

 H.    There is not a continuous path of travel connecting all essential elements of the
       facility, in violation of Sections 4.3.1, 4.3.2 and 4.3.3 of the ADAAG whose
       resolution is readily achievable.

 1.    There is no means of emergency egress or area of rescue assistance. This violates
       the requirements of Section 4.3.11 of the ADAAG whose resolution is readily
       achievable whose resolution is readily achievable.

 Access to Goods and Services

 A.    There are counters throughout the facility in excess of 36", in violation of Section
       7.2(1) ofthe ADAAG whose resolution is readily achievable.

 B.    There is fixed or built in seating provided at the facility that does not comply with the
       standards prescribed in Section 4.32 of the ADAAG whose resolution is readily
       achievable.

 C.    Signage is not provided at the accessible check-out aisle violating Section 7.3 ofthe
       ADAAG whose resolution is readily achievable.

 Restrooms

 A.    The clear floor space provided in the restroom violates the provisions of Sections
       4.2.1,4.18.3 and 4.22 of the ADAAG whose resolution is readily achievable.

 B.    The grab-bars in the toilet room stalls do not comply with the requirements
       prescribed in Sections 4.17.6 and 4.26 of the ADAAG whose resolution is readily
       achievable.

 C.    The toilet stalls provided for public use at the facility are in violation of Section 4.17
       of the ADAAG whose resolution is readily achievable.

 D.    There are urinals provided for public use that do not comply with the standards set
       forth in Section 4.18 of the ADAAG whose resolution is readily achievable.

 E.    There are exposed pipes in restrooms at the facility, violating ofSection 4.19.4 ofthe
       ADAAG whose resolution is readily achievable.

                                               5
      Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 6 of 9




       F.      There restroom does not provide the required amenities for public use violating the
               provisions of the ADAAG whose resolution is readily achievable.


12.    The discriminatory violations described in paragraph 11 are not an exclusive list of the

       Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of

       public accommodation in order to photograph and measure all of the discriminatory acts

       violating the ADA and all of the barriers to access. The individual Plaintiff, the members

       of the Plaintiff group, and all other individuals similarly situated, have been denied access

       to, and have been denied the benefits of services, programs and activities ofthe Defendant's

       buildings and its facilities, and have otherwise been discriminated against and damaged by

       the Defendant because of the Defendant's ADA violations, as set forth above.              The

       individual Plaintiff, the members ofthe Plaintiff group and all others similarly situated will

       continue to suffer such discrimination, injury and damage without the immediate relief

       provided by the ADA as requested herein. In order to remedy this discriminatory situation,

       the Plaintiff requires an inspection of the Defendant's place of public accommodation in

       order to determine all of the areas of non-compliance with the Americans with Disabilities

       Act.

13.    Defendant has discriminated against the individual and corporate Plaintiffs by denying them

       access to full and equal enjoyment of the goods, services, facilities, privileges, advantages

       and/or accommodations of its place of public accommodation or commercial facility in

       violation of 42 U.S.c. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the

       Defendant continues to discriminate against the Plaintiff, and all those similarly situated by

       failing to make reasonable modifications in policies, practices or procedures, when such


                                                 6
      Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 7 of 9




       modifications are necessary to afford all offered goods, services, facilities, privileges,

       advantages or accommodations to individuals with disabilities; and by failing to take such

       efforts that may be necessary to ensure that no individual with a disability is excluded, denied

       services, segregated or otherwise treated differently than other individuals because of the

       absence of auxiliary aids and services.

14.    Plaintiffs are without adequate remedy at law and are suffering irreparable harm. Plaintiffs

       have retained the undersigned counsel and are entitled to recover attorney's fees, costs and

       litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

15.    Defendant is required to remove the existing architectural barriers to the physically disabled

       when such removal is readily achievable for its place of public accommodation that have

       existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, ifthere has been an

       alteration to Defendant's place of public accommodation since January 26, 1992, then the

       Defendant is required to ensure to the maximum extent feasible, that the altered portions of

       the facility are readily accessible to and useable by individuals with disabilities, including

       individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant's facility is

       one which was designed and constructed for first occupancy subsequent to January 26, 1993,

       as defined in 28 CFR 36.401, then the Defendant's facility must be readily accessible to and

       useable by individuals with disabilities as defined by the ADA.

16.    Notice to Defendant is not required as a result of the Defendant's failure to cure the

       violations by January 26, 1992 (or January 26, 1993, ifDefendant has 10 or fewer employees

       and gross receipts of $500,000 or less). All other conditions precedent have been met by

       Plaintiffs or waived by the Defendant.

17.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

                                                 7
     Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 8 of 9




      Injunctive Relief, including an order to require the Defendant to alter Dillons Shopping

      Center to make those facilities readily accessible and useable to the Plaintiffs and all other

      persons with disabilities as defined by the ADA; or by closing the facility until such time as

      the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.c. § 12181 et seq.

      b.     Injunctive relief against the Defendant including an order to make all readily

             achievable alterations to the facility; orto make such facility readily accessible to and

             usable by individuals with disabilities to the extent required by the ADA; and to

             require the Defendant to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such stops that may be necessary to ensure that no

             individual with a disability is excluded, denied services, segregated or otherwise

             treated differently than other individuals because ofthe absence ofauxiliary aids and

             servrces.

      c.     An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.c.

             § 12205.




                                                8
          Case 6:08-cv-01215-WEB-DWB Document 1 Filed 07/17/08 Page 9 of 9




              d.            Such other relief as the Court deems just and proper, and/or is allowable under

                            Title III ofthe Americans with Disabilities Act.

                                                           Respectfully Submitted,

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